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 UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF
                  ILLINOIS EASTERN DIVISION

GHALEB AZROUI,                                       )
                                                     )
             Plaintiff,                              )
                                                     )
     v.                                              )       10 CV 4772
                                                     )
SHARON HAHS, JEFFREY BROWN, CHONG                    )
TONG CHEN, CHRISTINE DOUGLAS,                        )
MICHAEL KELLY, LAWRENCE FRANK,                       )
NAUZER BALASARA, ALAN SHUB, JAMES                    )
LYONS Jr., PAUL KRUSZYNSKY, DAVID                    )
DECLET and UNKNOWN POLICE OFFICERS                   )
FROM NORTHEASTERN ILLINOIS POLICE                    )
DEPARTMENT,                                          )
                                                     )
             Defendants.                             )

APPOINTED COUNSEL ROBERT ROBERTSON’S MOTION TO WITHDRAW

  1. Plaintiff filed a claim for the violation of his civil rights as protected by the

     Constitution and the laws of the United States under 42 U.S.C. sections 1983,

     1985, 1986, 1988 and the Fourteenth Amendment of the United States

     Constitution.

  2. This court appointed Respondent, Robert Joseph Lane Robertson, to act as

     counsel on a pro bono basis.

  3. After his appointment, Movant Counsel filed an Amended Complaint, a Second

     Amended Complaint, and a Third Amended Complaint.

  4. Movant Counsel also filed a response to the Motion to Dismiss filed by

     Defendants and a Motion to Reconsider the Court’s initial ruling. After these

     motions, there are ten counts that remain from Plaintiff’s Third Amended

     Complaint.
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  5. Movant Counsel is an experienced attorney and has dealt with a number of

     difficult clients and individuals throughout his years of practice.

  6. Although there have been repeated and lengthy meetings, phone calls and other

     communications between Movant Counsel and Plaintiff, Plaintiff does not appear

     to grasp or is unwilling to accept the manner in which a legal case works through

     the system.

  7. Movant Counsel believes that there is an unresolvable and irreconcilable conflict

     that has developed between Movant and Plaintiff regarding this case.

  8. Plaintiff initially filed a Motion for Change of Counsel in which he was critical of

     the representation by Movant counsel. Plaintiff withdrew this motion only after it

     became clear that he would not receive another court-appointed attorney if his

     motion were granted.

  9. Plaintiff has been unwilling to accept most recommendations from Movant

     counsel, instead repeatedly insisting that Movant do what the Plaintiff says

     because Movant was appointed to be his counsel.

  10. Plaintiff has tried to file his own motions on several occasions, including his most

     recent motion for miscellaneous relief.

  11. Plaintiff has wanted to file a number of amended complaints, seeking to add

     counts claiming that Defendants have conspired with the US Marshals to deny

     him his rights and that Defendants committed fraud by intentionally sending a

     poor copy of the dismissal order from Plaintiff’s case that was pending in the

     Circuit Court of Cook County.




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  12. Movant Counsel has repeatedly advised Plaintiff that there is no cause of action

     that would be appropriate for either of these claims. Plaintiff refuses to accept

     this fact.

  13. Movant has advised Plaintiff to stay way from the Federal Building and let

     Movant handle the matters; Plaintiff has insisted on repeatedly entering the

     building to check on the status of the case.

  14. Movant has repeatedly advised Plaintiff to avoid the US Marshals; Plaintiff has

     not heeded this advise.

  15. Of most concern is the Plaintiff’s misrepresentations regarding the potential

     settlement conference in this case.

  16. In his Motion, Plaintiff claims that on October 4, 2011, he told Movant before the

     case was called that he did not want to participate in any settlement conference.

  17. This is completely false; Plaintiff agreed to having the matter referred to Judge

     Kim for settlement and was in open Court when both parties requested the

     settlement and when the referral was made.

  18. It was only later that night after hearing that the next court date was December 13,

     2011, that Plaintiff first objected to any settlement as the case should be tried in

     November.

  19. Movant should not have to be subjected to accusations of serious professional

     impropriety and must defend himself from these allegations. This irreparably has

     damaged the attorney-client privilege and created a conflict between Movant and

     Plaintiff.




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  20. This is the second time that Movant’s professionalism and conduct has been

     attacked by the Plaintiff in motions.

  21. Also, Plaintiff has repeatedly insisted that Movant file a Motion to advance the

     case so it could be heard just three weeks sooner. Movant has repeatedly refused

     to do so and has explained the discovery process to Plaintiff at least ten times.

     Plaintiff refuses to accept the discovery process. Instead of heeding Movant’s

     advice, Plaintiff has filed his own motion asking for this relief.

  22. Movant believes that Plaintiff will not be able to function with Movant as Counsel

     for the remainder of this case. Despite statements to the contrary whenever it

     appears he may lose his appointed counsel, Plaintiff is simply not happy with the

     actions taken by Movant.

  23. Movant does not believe that he will be able to function as counsel. In his

     motion, the Plaintiff is asking this Court to effectively order Movant to do

     whatever Plaintiff demands. Movant does not believe that he can do this while

     obeying the rules of this court and avoiding sanctions.

  24. Movant has exhausted all reasonable avenues of client representation and cannot

     continue to represent Plaintiff because of the reoccurring and serious conflicts that

     continually arise, sometimes on a daily basis.

  25. Movant believes that the appointment of different counsel would not correct most

     of these issues.

  26. As a result, Movant seeks leave to withdraw as counsel for Plaintiff in this case.

  27. Movant Counsel seeks any additional relief the Court deems just.


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                                     Respectfully submitted,

                                     By: /s/ Robert Robertson

                                     Appointed Attorney for Plaintiff




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